

Matter of Ozdemir (2018 NY Slip Op 01985)





Matter of Ozdemir


2018 NY Slip Op 01985


Decided on March 22, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 22, 2018


[*1]In the Matter of LEIGH URFER OZDEMIR, an Attorney. 
(Attorney Registration No. 2783272)

Calendar Date: March 19, 2018

Before: Lynch, J.P., Devine, Mulvey, Aarons and Pritzker, JJ.


Leigh Urfer Ozdemir, Wellesley, Massachusetts, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Leigh Urfer Ozdemir was admitted to practice by this Court in 1996 and lists a business address in Wellesley, Massachusetts with the Office of Court Administration. Ozdemir now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Ozdemir's application by correspondence dated March 14, 2018.
Upon reading Ozdemir's affidavit sworn to January 6, 2017 and filed February 5, 2018, and upon reading the March 14, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Ozdemir is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Lynch, J.P., Devine, Mulvey, Aarons and Pritzker, JJ., concur.
ORDERED that Leigh Urfer Ozdemir's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Leigh Urfer Ozdemir's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Leigh Urfer Ozdemir is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Ozdemir is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Leigh Urfer Ozdemir shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








